 Case 2:11-cr-00396-APG-PAL           Document 107     Filed 09/28/12    Page 1 of 4



 1   TERRENCE M. JACKSON, ESQUIRE
     Nevada Bar No. #00854
 2   Law Office of Terrence M. Jackson
     624 South Ninth Street
 3   Las Vegas, Nevada 89101
     T: (702)386-0001/ FAX: (702)386-0085
 4
     Counsel for Defendant Vicente Ascencio
 5
 6                         UNITED STATES DISTRICT COURT
 7                                  DISTRICT OF NEVADA
 8                                                     2:11-cr-00396-MMD-PAL-4
      UNITED STATES OF AMERICA,
 9                             Plaintiff,
10     -vs-
11    VICENTE ASCENCIO (4),
12                             Defendant.
13
14
      DEFENDANT VICENTE ASCENCIO’S UNOPPOSED MOTION TO CONDUCT A
15
     PRE-PLEA, PRE- SENTENCE INVESTIGATION REPORT AND PROPOSED ORDER
16
17
              COMES NOW the Defendant, VICENTE ASCENSIO, by and through his attorney,
18
     TERRENCE M. JACKSON, ESQ., and moves this Honorable Court to request a Pre-Plea
19
     Pre-Sentence Investigation Report be prepared by the Probation Department to determine
20
     the Defendant’s criminal history.
21
              1.   The Defendant is charged with conspiracy to possess methamphetamine with
22
     intent to distribute and possession of methamphetamine with intent to distribute; 21 U.S.C.
23
     §846, 841(a)(1) and (b)(1)(A)(viii) and 21 U.S.C. §841(a)(1) and (b)(1)(B)(viii).
24
              2.   The Defendant is unsure of his prior convictions and believes that his
25
     criminal history could be anywhere from a level 5 to a level 6. He is uncertain whether
26
     he is facing career criminal status.
27
              3.   The disparity in a potential sentence between these criminal history levels is
28
 Case 2:11-cr-00396-APG-PAL           Document 107       Filed 09/28/12     Page 2 of 4



 1   substantial, and what possible sentence the Defendant may face will strongly influence
 2   whether or not he accepts a plea negotiation in this case.
 3           4.    Undersigned counsel therefore respectfully requests an Order that the
 4   Department of Probation conduct a pre-plea pre-sentence investigation report to determine
 5   the Defendant’s criminal history category as soon as possible, including whether Probation
 6   believes he is a career criminal.
 7           5.    Undersigned counsel has spoken to the prosecutor, Assistant United States
 8   Attorney Cristina D. Silva on September 26, 2012, and she has no opposition to this
 9   request if it does not delay the trial date or the date for acceptance of the plea offer, but
10   will not oppose a reasonable continuance of the trial if necessary in the interests of justice.
11
12           RESPECTFULLY SUBMITTED, this 27th day of September, 2012.
13
14                                   /s/ Terrence M. Jackson
                                  TERRENCE M. JACKSON, ESQ.
15                                Counsel for Defendant, Vicente Ascencio
16
17
18
19
20
21
22
23
24
25
26   .   .   .
     .   .   .
27
                                                  -2-
28
 Case 2:11-cr-00396-APG-PAL        Document 107      Filed 09/28/12    Page 3 of 4



 1                   ELECTRONIC CERTIFICATE OF SERVICE
 2                              2:11-cr-00396-MMD-PAL-4
 3
 4         The undersigned hereby certifies that she is an assistant in the office of Terrence
 5   M. Jackson, Esquire, and is a person of such age and discretion as to be competent to
 6   serve papers and that on this date, September 27th, 2012, she served an electronic copy
 7   of the attached DEFENDANT VICENTE ASCENCIO’S UNOPPOSED MOTION TO
 8   CONDUCT A PRE-PLEA PRE-SENTENCE INVESTIGATION REPORT AND
 9   PROPOSED ORDER by electronic service (ECF) to the attorney(s) of record:
10
11   DANIEL G. BOGDEN
     United States Attorney
12   CRISTINA D. SILVA
     Assistant United States Attorney
13   Lloyd D. George U.S. Courthouse
     333 Las Vegas Blvd. South, Ste. 5000
14   Las Vegas, Nevada 89101
     Tel: (702) 388-6336
15   Fax: (702) 388-6418
16
           Dated: September 27th, 2012
17
              /s/ Ila C. Wills
18         Legal Assistant for
           Terrence M. Jackson, Esq.
19
20
21
22
23
24
25
26
27   ...
28                                            -3-
 Case 2:11-cr-00396-APG-PAL          Document 107     Filed 09/28/12    Page 4 of 4



 1   TERRENCE M. JACKSON, ESQUIRE
     Nevada Bar No. #00854
 2   Law Office of Terrence M. Jackson
 3   624 South Ninth Street
     Las Vegas, Nevada 89101
 4   T: (702)386-0001/ FAX: (702)386-0085
     Counsel for Defendant Vicente Ascencio
 5
 6
 7                          UNITED STATES DISTRICT COURT

 8                                 DISTRICT OF NEVADA
 9
10    UNITED STATES OF AMERICA,                       2:11-cr-00396-MMD-PAL-4
11                           Plaintiff,
                                                      ORDER
12      -vs-

13    VICENTE ASCENCIO (4),

14                                Defendant.

15
16             IT IS HEREBY ORDERED that the Probation Department will prepare a

17   Pre-Sentence Investigation Report of the Defendant Vicente Ascencio, and make it available

18   to counsel on or before October 15th, 2012.

19
                            26
20             DATED this        day of October, 2012.

21
22
23
                                               UNITED STATES DISTRICT JUDGE
24
25
26
27
28
